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                   IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION
                                       §
GLOBAL WEATHER PRODUCTIONS, LLC        §
                                       §
                 Plaintiff,            §
           v.                          §
                                       § Case No: 5:23-cv-01350-JKP-ESC
JOE PAGS MEDIA, LLC                    §
                                       §
                                       §
                Defendant.
                                       §
                                       §

                   PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT

       PLEASE TAKE NOTICE that, upon this Notice of Motion for Default Judgment; the

declaration of Craig Sanders and exhibits attached thereto, and the pleadings and prior proceedings

herein; Plaintiff Global Weather Productions, LLC (“Plaintiff”) will move the Court, before the

Honorable Jason K. Pulliam (U.S.D.J.) at the United States District Court, Western District of

Texas (San Antonio Division), at a time and date to be determined by the Court for an Order

GRANTING Plaintiff’s application for default judgment against Defendant Joe Pags Media, LLC

(“Defendant”) in the amount of $30,000.00 in statutory damages under 17 U.S.C. § 504(c);

$1400.00 in attorneys’ fees and $440.00 in costs under 17 U.S.C. § 505; and for such further relief

as this Court deems just and proper.

       PLEASE TAKE FURTHER NOTICE that Defendant’s opposition papers, if any, must

be served within fourteen (14) days after service of these motion papers; and such service made

upon Defendant by U.S. mail via its last known business addresses shall be deemed sufficient

service thereof.




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Dated: May 10, 2024

                                   SANDERS LAW GROUP

                                   By:     /s Craig B. Sanders
                                   Craig B. Sanders, Esq.
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                                   Attorneys for Plaintiff



TO:

JOE PAGS MEDIA, LLC
c/o Joseph J Pagliarulo
287 Coyote Trail
Spring Branch, TX 78070




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                              CERTIFICATE OF CONFERENCE

As Defendant JOE PAGS MEDIA, LLC has yet to appear and defend this action, no
conference with the opposing party was held prior to filing this default application.

                                                            s/ Craig B. Sanders /
                                                            Craig B. Sanders




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